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                    IN THE UNITED STATES DISTRICT COURT
                 FOR THE EASTERN DISTRICT OF PENNSYLVANIA

THOMAS O’KEEFE                :
                              :
      v.                      :     Civil Action No. 17-1979
                              :     Judge Anita B. Brody
ARAMARK MANAGEMENT            :
SERVICES LIMITED              :
PARTNERSHIP, et al.           :
____________________________________________________________________

PATRICE JENKINS                 :
                                :
      v.                        :     Civil Action No. 17-2829
                                :     Jude Anita B. Brody
ARAMARK MANAGEMENT              :
SERVICES LIMITED                      :
PARTNERSHIP, et al.             :

_____________________________________________________________________

STEVE WASHINGTON                :
                                :
     v.                         :     Civil Action No. 17-2005
                                :     Judge Nitza Quinones Alejandro
ARAMARK MANGEMENT               :
SERVICES LIMITED                :
PARTNERSHIP, et al.
_____________________________________________________________________

LAVERNA PEAY                  :
                              :
      v.                      :     Civil Action No. 17-2387
                              :     Judge Juan R. Sanchez
ARAMARK MANAGMENT             :
SERVICES LIMITED              :
PARTNERSHIP, et al.           :
_____________________________________________________________________
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DONNIE GRIFFIN                         :
                                       :
       v.                              :       Civil Action No. 17-3437
                                       :       Judge Mitchell S. Goldberg
ARAMARK MANAGMENT                      :
SERVICES LIMITED
PARTNERSHIP, et al.



                   AMENDED SCHEDULING ORDER - CORRECTION*

       AND NOW, this    7TH   day of February, 2018, upon consideration of ECF No.
35,IT IS ORDERED that the Court’s Scheduling Order (ECF No. 32) is AMENDED as
follows:

1. Pretrial timetable



               •        The parties are directed to contact Magistrate Judge David R.
                        Strawbridge to schedule a conference at the time they believe
                        settlement discussions will be beneficial.

               •        All discovery must be completed May 16, 2018.

               •        Plaintiff’s expert reports due *April 18, 2018; Defendant’s reports due
                        May 2, 2018; Depositions of all experts must be completed by May 16,
                        2018.

               •        Dispositive motions due May 30, 2018.

               •        After all dispositive motions have been decided or when no dispositive
                        motions have been filed and the time for filing dispositive motions has
                        elapsed, the parties will be given notice of a trial date, a Final Pretrial
                        Conference, and deadlines for pretrial filings.

            2. Unless the parties agree to another form of ADR, United States Magistrate Judge
            David R. Strawbridge will contact the parties regarding the scheduling of a settlement
            conference. Judge Strawbridge requires that lead counsel and parties with full
            settlement authority attend the conference.


            3. With the exception of employment discrimination cases and cases in which the
            plaintiff is pro se, a part moving for summary judgment under F.R.C.P. 56 should
            consider following the procedure set forth in Attachment A. The parties in
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              employment discrimination cases and cases in which the plaintiff is pro se must file
              traditional summary judgment motions. For those following the preferred procedure,
              all responses and replies to summary judgment motions must contain a statement of
              undisputed and disputed facts. For those using traditional summary judgment
              procedure, all summary judgment motions and responses must contain a statement of
              undisputed and disputed facts. For me to consider any filing made in conjunction
              with a motion for summary judgment, all references to affidavits, depositions,
              documents or other evidence must cite specifically to the exhibit, page and line
              number.

              4. In all cases, a party has 21 days to file a response in opposition to a motion for
              summary judgment and 10 days to file a reply in support of a motion for summary
              judgment. Motions for leave to file a reply are not necessary because replies are
              automatically allowed. If a party has filed a Rule 56 motion in accordance with
              Judge Brody’s preferred procedure, then a sur-reply is required, and a sur-reply is due
              10 days aft the reply is filed. Otherwise, a sur-reply will be accepted only if Judge
              Brody grants a motion for leave to file a sur-reply.1

              5. REMINDER: Counsel must submit to chambers TWO courtesy hard copies of all
              papers filed with the Clerk of Court or filed on ECF. Courtesy copies should include
              the ECF docket entry number on the first page. Single-sided copies are preferred.


              6. Your case has been assigned to:


                 ___     Law Clerk Maya Sosnov, maya_sosnov@paed.uscourts.gov

                 __ x     Law Clerk Alisa Rodier, alisa_rodier@paed.uscourts.gov

                  ____ Law Clerk Alex Ussia, alex_ussia@paed.uscourts.gov



              7. Judge Brody’s Policies and Procedures can be accessed via the U.S. District
              Court’s website at www.paed.uscourts.gov.

              8. Throughout the course of the litigation, counsel must provide the courtroom
              deputy clerk, Jim Scheidt, with current telephone numbers, fax numbers, and email
              addresses. Judge Brody's fax number is 215-580-2356.




        1
            Parties should not add an additional three days for ECF filing to these periods when calculating
deadlines .
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                                      s/Anita B. Brody

                                      ________________________
                                      Anita B. Brody, J.




XC: Magistrate David R. Strawbridge



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